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 7

 8                       IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10   THE UNITED STATES OF AMERICA, ) No. 10-CR-00437
11
                      Plaintiff,        )
                                        ) STIPULATION AND [PROPOSED]
12         v.                           ) ORDER
                                        )
13
     MICHAEL VALENTINO LOVATO           ) Date: 2/6/12
14                    Defendant.        ) Time: 9:30 a.m.
     ________________________________) Judge: William B. Shubb
15

16
            This case is currently scheduled for a status hearing on December 19, 2011. The

17   parties have conferred and agree that additional time is need for negotiation between the
18
     parties with the hope of resolving the case. Specifically, the parties have agreed that a pre-
19
     plea advisory guideline presentence investigation report that addresses Mr. Lovato’s
20

21   criminal history and base offense level, would aid the parties toward resolving the case. The
22
     Court has previously signed an order that a pre-plea report be completed by probation. Due
23
     to a miscommunication the report was not completed by probation. Probation has indicated
24

25   that the report could be completed by February 6, 2012.

26
            It is hereby stipulated and agreed between the United States of America through
27

28   JILL THOMAS, Assistant U.S. Attorney, and defendant, MICHAEL VALENTINO


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 1   LOVATO by and through his attorney, KELLY BABINEAU, Attorney at Law, that the
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     status conference set for December 19, 2011 will continue February 6, 2012 at 9:30 a.m.
 3

 4
              The reasons for this continuance is to give defense counsel additional time to review
 5
     the discovery with the defendant, to examine possible defenses, to continue investigation of
 6

 7
     the facts of the case and to continue negotiations with the government. Therefore, counsel

 8   for the parties stipulate and agree that the interests of justice served by granting this continuance
 9
     outweigh the best interests of the defendants and the public in a speedy trial. 18 U.S.C.
10
     3161(h)(7)(A) (continuity of counsel/ reasonable time for effective preparation) and Local Code
11
     T4, and agree to exclude time from the date of the filing of the order until the date of the status
12

13   conference.

14
              IT IS STIPULATED that the period of time from the signing of this Order up to and
15

16   including the new status conference date of February 6, 2012, be excluded in computing the
17
     time within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §
18
     3161(h)(7)(A) and Local Code T4, for ongoing preparation of counsel
19

20   Dated:                                                Respectfully submitted,

21                                                         /s/ Kelly Babineau__________
22
                                                           KELLY BABINEAU
                                                           Attorney for Michael Valentino Lovato
23
     Dated:                                                /s/ Jill Thomas _____ .
24
                                                           JILL THOMAS
25                                                         Assistant United States Attorney
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 1

 2
                                             ORDER

 3          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that
 4
     the status conference presently set for December 19, 2011, at 9:30 a.m. be continued to
 5
     February 6, 2012, at 9:30 a.m. Based on the representations of counsel and good cause
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 7   appearing therefrom, the Court hereby finds that the failure to grant a continuance in this
 8
     case would deny defense counsel reasonable time necessary for effective preparation, taking
 9
     into account due diligence. The continuance outweighs the best interests of the public and
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11
     the defendants to a speedy trial.

12          IT IS ORDERED that time from this date to February 6, 2012, shall be excluded
13
     from computation of the time within which the trial of this matter must be commenced
14
     under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7) and Local Code T4, to allow
15

16   counsel time to prepare.
17

18   Dated: December 16, 2011
19

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